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                           EXHIBIT 7
                                            Infringement of U.S. Patent No. 12,133,734
                                                By the Bardy CAM Patch Product

         Claim 1                                                         Accused Product
[1.pre] An electronic de-    To the extent the preamble is limiting, the Bardy CAM Patch product comprises an electronic device for
vice for long-term adhe-     long-term adhesion to a user, the device comprising.
sion to a user, the device
comprising:                  The Bardy CAM Patch comprises an electronic device adhered to a user.
                                                                                                                                                    Case 1:24-cv-01355-JDW
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                             Use.pdf)
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               Infringement of U.S. Patent No. 12,133,734
                   By the Bardy CAM Patch Product
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(https://www.hillrom.com/en/products/cam-patch/; see  also    https://www.bardydx.com/wp-
content/uploads/2022/12/DN000601A-14Day-Half-fold-CAM-Brochure.pdf)

The Bardy CAM Patch comprises long-term adhesion for the service life of the Patch “Up to 2, 7, or 14
days”
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                 By the Bardy CAM Patch Product
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                                              By the Bardy CAM Patch Product
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                           Brochure.pdf)
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[1.a] a housing compris-   The Bardy CAM Patch product comprises a housing comprising a physiologic data collection circuit.
ing a physiologic data
collection circuit,        For example, the Bardy CAM Patch product comprises a physiologic data collection circuit (e.g., “Pro-
                           prietary circuit”). The “Proprietary circuit” collects physiologic data, such as cardiac P-wave signals.
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             Infringement of U.S. Patent No. 12,133,734
                 By the Bardy CAM Patch Product
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Infringement of U.S. Patent No. 12,133,734
    By the Bardy CAM Patch Product




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                                            Infringement of U.S. Patent No. 12,133,734
                                                By the Bardy CAM Patch Product

                             (https://www.bardydx.com/wp-content/uploads/2022/12/DN000601A-14Day-Half-fold-CAM-
                             Brochure.pdf)

                             Bardy CAM Patch product comprises a housing comprising a physiologic data collection circuit.



                                                                          Housing
                                                                                                                                                       Case 1:24-cv-01355-JDW
                                                                                                                                                    1796




                             (https://youtu.be/RPcdb-volpc?si=meNXw98UDtIgwqp1&t=126)
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[1.b] the housing posi-      The Bardy CAM Patch product comprises the housing positioned over a flexible layer extending from
tioned over a flexible       the housing, the flexible layer comprising an electrode positioned on the bottom of the flexible layer at
layer extending from the     a position distal from the housing.
housing, the flexible
layer comprising an elec-    For example, the Bardy CAM Patch product comprises the housing positioned over a flexible layer ex-
trode positioned on the      tending from the housing.
bottom of the flexible
layer at a position distal
from the housing,
                                                                                                                                                       Page 11 of 26 PageID #:




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             Infringement of U.S. Patent No. 12,133,734
                 By the Bardy CAM Patch Product


                                                            Flexible layer




                                                            Housing
                                                                                                   Case 1:24-cv-01355-JDW
                                                                                                1797




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Brochure.pdf)
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                 Infringement of U.S. Patent No. 12,133,734
                     By the Bardy CAM Patch Product




    Flexible
    layer
                                                                                                                      Case 1:24-cv-01355-JDW




               Housing


(https://youtu.be/RPcdb-volpc?si=meNXw98UDtIgwqp1&t=126).

For example, the Bardy CAM Patch product includes a flexible layer comprising an electrode positioned
on the bottom of the flexible layer at a position distal from the housing.
                                                                                                                   1798
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              Infringement of U.S. Patent No. 12,133,734
                  By the Bardy CAM Patch Product


                  Flexible
                  layer




 Housing
                                                                                             Case 1:24-cv-01355-JDW




                       Electrode
                                                                                          1799




(https://www.hillrom.com/en/products/cam-patch/)
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(BardyDx Carnation Ambulatory Monitor (CAM) Specifications – DN000697B 7/23)
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                                              Infringement of U.S. Patent No. 12,133,734
                                                  By the Bardy CAM Patch Product

[1.c] wherein the flexible     The Bardy CAM Patch product comprises wherein the flexible layer comprises a polymer upper layer
layer comprises a poly-        overlying an electrical connection, the electrical connection extending from the physiologic data collec-
mer upper layer overly-        tion circuit to the electrode, the polymer upper layer adhered to a polymer lower layer underlying the
ing an electrical connec-      electrical connection.
tion, the electrical con-
nection extending from         For example, the Bardy CAM Patch includes a flexible layer comprising a polymer upper layer overlying
the physiologic data col-      an electrical connection.
lection circuit to the elec-
trode, the polymer upper
                                                                                                                                                         Case 1:24-cv-01355-JDW




layer adhered to a poly-                                                                        Flexible
mer lower layer underly-                                                                        layer
ing the electrical connec-
tion;
                                                                                                                                                      1800




                                                                      Electrical
                                                                      connection           Polymer
                                                                                           upper layer
                                                                                                                                           Document 38-8 Filed 04/25/25




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    By the Bardy CAM Patch Product

                                             Polymer
                                             upper layer




                                Electrical
       Flexible                 connection
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       layer
                                                                      1801
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              Infringement of U.S. Patent No. 12,133,734
                  By the Bardy CAM Patch Product

For example, the Bardy CAM Patch includes an electrical connection extending from the physiologic
data collection circuit to the electrode.


                                                           Physiologic data
                                                           collection circuit
                                                                                                                  Case 1:24-cv-01355-JDW




                                    Electrical
                                    connection
                                                                                                               1802




                                                        Electrode
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                     By the Bardy CAM Patch Product


                   Physiologic data
                   collection circuit
                                                                                                                 Case 1:24-cv-01355-JDW




                          Electrode
    Electrical
    connection
                                                                                                              1803




(https://www.hillrom.com/en/products/cam-patch/)



                                                                     Electrode
                                                                                                   Document 38-8 Filed 04/25/25




                                                       Electrical
                                                       connection


For example, the Bardy CAM Patch includes a polymer upper layer adhered to a polymer lower layer
underlying the electrical connection.
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                 By the Bardy CAM Patch Product
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                                  Electrical
                                  connection         Polymer
                                                     upper layer


                                                           Polymer
                                                           lower layer
                                                                                                1804
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                                                                                              Polymer
                                                                                              upper layer




                                                                                 Electrical
                                                                                 connection        Polymer
                                                                                                   lower layer
                                                                                                                                                         Case 1:24-cv-01355-JDW




[1.d] a lower adhesive       The Bardy CAM Patch product comprises a lower adhesive layer positioned on the flexible layer and
layer positioned on the      configured to adhere the electronic device to a user, the lower adhesive layer extending at least partially
flexible layer and config-   below the housing.
ured to adhere the elec-
tronic device to a user,     For example, the Bardy CAM Patch product comprises a lower adhesive layer positioned on the flexible
the lower adhesive layer     layer and configured to adhere the electronic device to a user.
                                                                                                                                                      1805




extending at least par-
tially below the housing;
and
                                                                                                                                           Document 38-8 Filed 04/25/25




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(https://www.hillrom.com/en/products/cam-patch/; see  also    https://www.bardydx.com/wp-
content/uploads/2022/12/DN000601A-14Day-Half-fold-CAM-Brochure.pdf)
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                                                                Lower adhesive layer


For example, the lower adhesive layer of the Bardy CAM Patch product extends at least partially below
the housing.
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                                              Infringement of U.S. Patent No. 12,133,734
                                                  By the Bardy CAM Patch Product



                                   Housing
                                                                                                                                                    Case 1:24-cv-01355-JDW




                              (https://youtu.be/RPcdb-volpc?si=meNXw98UDtIgwqp1&t=126)
                                                                                                                                                 1809




                                             Below the
                                                                                                                                      Document 38-8 Filed 04/25/25




                                             housing        Lower adhesive layer


[1.f] wherein the housing     The Bardy CAM product comprises wherein the housing is configured to tilt at an angle relative to the
is configured to tilt at an   lower adhesive layer in response to movement of the user.
angle relative to the
lower adhesive layer in       For example, the Bardy CAM Patch product comprises a housing configured to tilt at an angle relative
response to movement of       to the lower adhesive layer in response to movement of the user.
the user.
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    By the Bardy CAM Patch Product


                 Housing


                   Lower adhesive layer
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